
PER CURIAM.
At the time the trial court entered its order amending the final judgment of dissolution, thereby granting the husband an equitable distribution of proceeds from any future sale of the marital residence, there was no pending motion and, therefore, the court lacked jurisdiction to do so.1 For that reason, we now vacate the amended final judgment and remand with directions to reinstate the final judgment.
Reversed and remanded with directions.

. Even if the order amending final judgment were, indeed, valid, the wife would be entitled, nonetheless, to credit for the monies she expended over fifteen years for mortgage payments, taxes, maintenance, and upkeep of the house, an amount which undoubtedly offsets any equity which the husband now claims in the house.

